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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION


  AMERISURE INSURANCE COMPANY, a
  Foreign corporation, individually and as
  subrogee and assignee of WALMART, INC.
  f/k/a WAL-MART STORES, INC.,
                                                        CASE NO. _______________________
                  Plaintiff,

  v.

  SENECA         SPECIALTY    INSURANCE
  COMPANY, a Foreign corporation, and MRK
  CONSTRUCTION,        INCORPORATED,    a
  Florida corporation,

              Defendants.
  _________________________________________/

                COMPLAINT FOR DECLARATORY JUDGMENT AND DAMAGES

          Plaintiff, AMERISURE INSURANCE COMPANY, individually, and as subrogee and

  assignee of WALMART, INC. f/k/a WAL-MART STORES, INC. (hereafter “AMERISURE”)

  sues Defendants, SENECA SPECIALTY INSURANCE COMPANY (hereafter “SENECA

  SPECIALTY”) and MRK CONSTRUCTION, INCORPORATED (hereafter “MRK”) (SENECA

  SPECIALTY and MRK are collectively referred to as the “Defendants”), and alleges the

  following:

                               JURISDICTION, VENUE AND PARTIES

          1.      This is an action for declaratory judgment pursuant to 28 U.S.C. § 2201 and for

  damages.

          2.      Jurisdiction is proper in the United States District Court for the Southern District

  of Florida pursuant to 28 U.S.C. § 1332 because there is a diversity of citizenship between



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  AMERISURE and the Defendants, and the amount in controversy exceeds $75,000 exclusive of

  interest and costs.

          3.      Venue is proper in the United States District Court for the Southern District of

  Florida pursuant to 28 U.S.C. § 1391(b) because a substantial part of the events or omissions giving

  rise to the claim occurred in the Southern District of Florida.

          4.      AMERISURE is a Michigan corporation with its principal place of business in

  Farmington Hills, Michigan. Accordingly, pursuant to 28 U.S.C. § 1332(c)(1), AMERISURE is

  deemed to be a citizen of Michigan.

          5.      Upon information and belief, SENECA SPECIALTY is a New York corporation

  with its principal place of business in New York, New York. Accordingly, pursuant to 28 U.S.C.

  § 1332(c)(1), SENECA SPECIALTY is deemed to be a citizen of New York.

          6.      Upon information and belief, MRK is a Florida corporation with its principal place

  of business in Brandon, Florida. Accordingly, pursuant to 28 U.S.C. § 1332(c)(1), MRK is deemed

  to be a citizen of Florida.

          7.      All conditions precedent to the filing of this complaint have occurred, been

  performed or have been waived.

                                    FACTUAL ALLEGATIONS

  A.      The Underlying Lawsuit

          8.      On March 13, 2015, Raul Sardinas and Yanira Ruiz (collectively the “Claimants”)

  filed a civil action against Walmart Inc. f/k/a Wal-Mart Stores, Inc. (“WALMART”) in the Circuit

  Court of the Eleventh Judicial Circuit in Miami-Dade County, Florida (the “Underlying Lawsuit”),

  seeking damages in relation to an incident that took place at the premises known as Wal-Mart Store

  Number 1680, located at 15885 SW 88th Street in Miami, Florida (the “Premises”). A copy of the




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  operative Amended Complaint (the “Complaint”) in the Underlying Lawsuit, as filed on August

  13, 2015, is attached as Exhibit “A”.

          9.      According to the allegations of the Complaint in the Underlying Lawsuit, on or

  about October 21, 2011, the Claimants were business invitees at the Premises when part of the

  ceiling collapsed and the Claimants “were pelted with large quantities of wet cement, which poured

  through the collapsed ceiling,” causing Claimants to fall and sustain injuries (the “Incident”). See

  Ex. A at ¶ 7.

          10.     AMERISURE issued a general liability policy of insurance to Case Construction

  Company (hereafter “CASE”), the general contractor on a WALMART construction project.

  Pursuant to the Contract for Construction between WALMART and CASE, AMERISURE

  accepted the tender of defense and indemnification of WALMART.

          11.     On November 30, 2017, WALMART filed an Amended Third Party Complaint (the

  “Third Party Complaint”) against MRK in the Underlying Lawsuit, alleging common law

  indemnity, contractual indemnity and breach of contract in relation to the Incident and the

  Underlying Lawsuit. A copy of the Third Party Complaint is attached as Exhibit “B”.

          12.     The Third Party Complaint alleges that, on or about August 30, 2010, CASE

  entered into a subcontract agreement for the performance of work at the Premises (the

  “Subcontract”). A copy of the Subcontract is attached to the Third Party Complaint as Exhibit “A”.

          13.     The Third Party Complaint further alleges that, pursuant to the Subcontract, MRK

  was obligated to defend and indemnify WALMART in the Underlying Lawsuit and to include

  WALMART as an additional insured on MRK’s commercial general liability policies for claims

  caused in whole or in part by MRK’s operations and completed operations. See Ex. A. at ¶¶ 31 –

  32.




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          14.     On September 13, 2018, Final Judgments were entered in the Underlying Lawsuit

  in favor of the Claimants and against WALMART in the amount of $1,077,000.00 (the “Judgment

  Award”). Copies of the Final Judgments are attached as Composite Exhibit “C”.

  B.      Satisfaction of the Judgment Award by Amerisure

          15.     On October 23, 2018, WALMART and AMERISURE executed a Settlement

  Agreement and Assignment of Claims (the “Assignment”), whereby WALMART assigned all

  rights against MRK and SENECA SPECIALTY to AMERISURE, including any claims of

  insurance benefits, interest, attorneys’ fees and costs, in exchange for AMERISURE’s satisfaction

  of the Judgment Award, plus interest and costs, which totaled $1,199,480.70 (the “Indemnity

  Payment”). A copy of the Assignment is attached as Exhibit “D”.

          16.     AMERISURE extinguished the final judgment on behalf of WALMART as an

  additional insured under CASE’s policy with AMERISURE and pursuant to the indemnification

  provision in the Contract for Construction between CASE and WALMART.

  C.      The MRK Subcontract

          17.     As alleged in the Third Party Complaint, MRK entered into a Subcontract with

  CASE for the provision of labor, materials and services, including cement concrete paving,

  concrete slabs, concrete floor finishes and other concrete services, in connection with the

  construction of a store expansion at the Premises.

          18.     The Subcontract contains the following indemnification provision:

          § 4.6 INDEMNIFICATION
          § 4.6.1 To the fullest extent permitted by law, the Subcontractor shall indemnify and hold
          harmless the Owner. . . against claims, damages, losses and expenses, including but not
          limited to attorneys’ fees, arising out of or resulting from performance of the Subcontractor’s
          Work under this Subcontract, provided that any such claim, damage, loss or expense is
          attributable to bodily injury, sickness, disease or death . . . but only to the extent caused by
          the negligent acts or omissions of the Subcontractor, the Subcontractor’s Sub-
          subcontractors, anyone directly or indirectly employed by them or anyone for whose acts




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          they may be liable, regardless of whether or not such claim, damage, loss or expense is
          caused in part by a party indemnified hereunder . . .

  See Ex. B, attaching Subcontract as Exhibit “A”.

          Condition 21.
          (A)        Subcontractor agrees to defend, indemnify and hold harmless Contractor and
          Owner, and their agents and employees, from and against any claim, cost, expense or
          liability (including attorneys’ fees), attributable to bodily injury, sickness, disease or death,
          or to damage to or destruction of property (including loss of use thereof), caused by, arising
          out of, resulting from or occurring in connection with the performance of the work by
          Subcontractor, its Subcontractors, or their agents or employees, whether or not caused in
          part by the active or passive negligence or other fault of a party indemnified hereunder;
          provided, however, Subcontractor’s duty hereunder shall not arise if such injury, sickness,
          disease, death, damage or destruction is caused by the sole negligence of a party
          indemnified hereunder . . .

          (B)      Should Owner or any other person assert a claim or institute a suit, action or
          proceeding against Contractor involving the manner or sufficiency of the performance of
          the Subcontractor’s work, Subcontractor shall upon request of Contractor promptly assume
          the defense of such claim, suit, action or proceeding, at Subcontractor’s expense, and
          Subcontractor shall indemnify and hold harmless Contractor and its agents and employees,
          from and against liability, loss, damages, or expense (including but not limited to attorneys’
          fees) arising out of or related to such claim, suit, action or proceeding.
                                                        ***

  See id. at “Supplemental Conditions”.

          19.      The Subcontract also contains the following requirement that WALMART be

  named as an additional insured under MRK’s commercial general liability policies:

          ARTICLE 13        INSURANCE AND BONDS
          §13.1 The Subcontractor shall purchase and maintain insurance of the following types of
          coverage and limits of liability as will protect the Subcontractor form claims that may arise
          out of, or result from, the Subcontractor’s operations and completed operations under the
          Subcontract.


          Type of Insurance or Bond                   Limit of Liability or bond amount
          Comprehensive General Liability                     2,000,000.00


          §13.1.1 A Certificate of Insurance, which MUST list CASE CONTRACTING COMPANY
          and WAL-MART STORES, INC., as additional insureds as their interests may appear, shall
          be additional insureds with cross liability endorsement with respect to commercial, general
          and automobile liability policies. . .



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                                                        ***
            §13.4   The Subcontractor shall cause the commercial liability coverage required by the
            Subcontract Documents to include: (1) the Contractor, the Owner . . . as additional insureds
            for claims caused in whole or in part by the Subcontractor’s negligent acts or omissions
            during the Subcontractor’s operations; and (2) the Contractor as an additional insured for
            claims caused in whole or in part by the Subcontractor’s negligent acts or omissions during
            the Subcontractor’s completed operations.
                                                        ***
  See id.

  D.        The Seneca Specialty Policy

            20.     SENECA SPECIALTY issued a commercial general liability policy to MRK under

  policy number SGL 3000845, which was in effect from December 28, 2010 through December 28,

  2011 and contains limits of liability of $2,000,000.00 in the general aggregate and $1,000,000.00

  per occurrence (the “Seneca Specialty Policy”). A copy of the Seneca Specialty Policy is attached

  as Exhibit “E”.

            21.     The Seneca Specialty Policy contains the following pertinent endorsements

  affording additional insured coverage to WALMART on a primary and con-contributory basis:

            THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                             ADDITIONAL INSURED OWNERS, LESSEES OR
                        CONTRACTORS - SCHEDULED PERSON OR ORGANIZATION

            This endorsement modifies insurance provided under the following:

                    COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                                   SCHEDULE

       Name of Additional Insured Person(s) or
                  Organization(s)                                Location(s) of Covered Operations

       AS REQUIRED BY WRITTEN CONTRACT                        AS REQUIRED BY WRITTEN CONTRACT

    Information required to complete this Schedule, if not shown above, will be shown in the Declarations.




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   A. Section II - Who Is An Insured is amended to        B. With respect to the Insurance afforded to these
      include as an additional insured the person(s) or      additional insureds, the following, additional
      organization(s) shown in the Schedule, but only        exclusions apply:
      with respect to liability for “bodily injury”,
      “property damage” or “personal and advertising         This insurance does not apply to “bodily injury”
      injury” caused, in whole or in part by:                or “property damage” occurring after:

      1. Your acts or omissions, or                          1.    All work including materials, parts or
      2. The acts or omissions of those acting on your       equipment furnished in connection with such
      behalf;                                                work on the protect (other than service,
       in the performance of your ongoing operations         maintenance or repairs) to be performed by or on
       for the additional insured(s) at the location(s)      behalf of the additional insured(s) at the location
       designated above.                                     of the covered operations has been completed, or
                                                             2. That portion of “your work” out of which
                                                             the injury or damage arises has been put to its
                                                             intended use by any person or organization
                                                             other than another contactor or subcontractor
                                                             engaging in performing operations for a
                                                             principal as a part of the same project.

                                                              ***

          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                      “PRIMARY/NON-CONTRIBUTORY” ENDORSEMENT

          This endorsement modifies insurance provided under the following:

          COMMERCIAL GENERAL LIABILITY COVERAGE PART PRODUCTS/COMPLETED
          OPERATIONS LIABILITY COVERAGE PART

          It is understood and agreed that Insurance as provided by this policy is modified and
          subject to the following provisions:

          Such Insurance as afforded by this policy for the benefit of the Additional Insured shall be
          primary insurance as respects any claim , loss or liability arising directly from the Named
          Insured’s operations and any other insurance maintained by the Additional Insured shall
          be excess and non-contributory with the insurance provided herein.
                  This endorsement applies as required by written contract.
                                                          ***
  See Ex. E.

                               COUNT I: DECLARATORY JUDGMENT
                                         (Seneca Specialty)

          22.      AMERISURE repeats and re-alleges the allegations contained in paragraphs 1

  through 21 above as if fully set forth herein.


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          23.   The SENECA SPECIALTY Policy was in full force and effect on the date of the

  Incident from which the Underlying Lawsuit stems.

          24.   Based upon the allegations in the Underlying Lawsuit and the terms of the

  Subcontract, the SENECA SPECIALTY Policy affords additional insured coverage to

  WALMART in connection with the Underlying Lawsuit on a primary and non-contributory basis.

          25.   A timely demand to SENECA SPECIALTY was made requesting that SENECA

  SPECIALTY assume its responsibilities to defend and indemnify WALMART as an additional

  insured under the SENECA SPECIALTY Policy in connection with the Incident and the

  Underlying Lawsuit.

          26.   SENECA SPECIALTY has failed to comply with its obligations to provide defense

  and indemnification to WALMART and/or has otherwise has failed to perform or acknowledge its

  obligations as an insurer of WALMART in connection with the Underlying Lawsuit.

          27.   An actual and present controversy exists between the parties as to the scope of

  SENECA SPECIALTY’s obligations to defend and indemnify WALMART in the Underlying

  Lawsuit.

          WHEREFORE, AMERISURE respectfully requests this Honorable Court find and

  declare that the SENECA SPECIALTY Policy affords primary and non-contributory coverage for

  WALMART in the Underlying Lawsuit, that SENECA SPECIALTY was obligated to defend and

  indemnify WALMART in the Underlying Lawsuit on a primary and non-contributory basis and

  without any contribution from AMERISURE, and for such other relief that this Honorable Court

  deems just, proper and equitable.




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                              COUNT II: BREACH OF CONTRACT
                                      (Seneca Specialty)

          28.    AMERISURE repeats and re-alleges the allegations contained in paragraphs 1

  through 27 above as if fully set forth herein.

          29.    The SENECA SPECIALTY Policy was in full force and effect on the date of the

  Incident from which the Underlying Lawsuit stems.

          30.    SENECA SPECIALTY, through the SENECA SPECIALTY Policy, is obligated to

  defend and indemnify its insured, WALMART, as against claims of bodily injury and property

  damage such as those asserted in the Underlying Lawsuit.

          31.    SENECA SPECIALTY’s failure and refusal to defend and indemnify WALMART

  in the Underlying Lawsuit is without legal basis.

          32.    All rights under the SENECA SPECIALTY Policy were transferred and assigned

  to AMERISURE under the Assignment.

          33.    AMERISURE is entitled to indemnification from SENECA SPECIALTY for funds

  expended, including attorneys’ fees, costs, disbursements, and other expenses incurred by

  AMERISURE in defending WALMART in the Underlying Lawsuit and satisfying the Indemnity

  Payment and Final Judgment entered against it in the Underlying Lawsuit.

          34.    AMERISURE has sustained, and will continue to sustain, damages as a result of

  SENECA SPECIALTY’s breach of the contract of insurance, including, but not limited to, the

  costs and expenses attendant to the institution and maintenance of this action.

          WHEREFORE, AMERISURE respectfully requests this Honorable Court enter judgment

  in its favor and against Seneca Specialty, as follows:

          (a)    that SENECA SPECIALTY is obligated to pay AMERISURE all damages incurred

                 by reason of SENECA SPECIALTY’s breach of the contract of insurance,



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                    including, but not limited to the costs and expenses attendant to the institution and

                    maintenance of this action;

          (b)       that SENECA SPECIALTY is obligated to reimburse AMERISURE for all

                    attorneys’ fees, costs, disbursements and other expenses incurred to date, plus

                    interest, in the defense of WALMART and satisfaction of the Indemnity Payment

                    in the Underlying Lawsuit;

          (c)       that this Honorable Court retain jurisdiction to grant supplemental relief, including

                    but not limited to claims for damages and/or bad faith, as appropriate; and

          (d)       Such other relief as this Honorable Court deems just, proper, and equitable.

                        COUNT III: CONTRACTUAL INDEMNIFICATION
                                         (MRK)

          35.       AMERISURE repeats and re-alleges the allegations contained in paragraphs 1

  through 21 above as if fully set forth herein.

          36.       The Subcontract contains two separate and distinct indemnification clauses that run

  to WALMART as the Owner of the Project – which the Prime Contract defines as Wal-Mart

  Supercenter (SUP), EXP #1680-03, Kendall, FL and the Subcontract defines as Wal-Mart

  Expansion # 1680-03.

          37.       The first indemnification clause, located at Section 4.6 of the Subcontract states, in

  pertinent part:

                    § 4.6.1 To the fullest extent permitted by law, the Subcontractor shall
                    indemnify and hold harmless the Owner, Contractor, Architect, Architect’s
                    Consultants, and agents and employees of any of them against claims,
                    damages, losses and expenses, including but not limited to attorneys’ fees,
                    arising out of or resulting from performance of the Subcontractor’s Work
                    under this Subcontract, provided that any such claim, damage, loss or
                    expense is attributable to bodily injury, sickness, disease or death, or to
                    injury to or destruction of tangible property (other than to the Work itself),
                    but only to the extent caused by the negligent acts or omissions of the
                    Subcontractor, the Subcontractor’s Sub-subcontractors, anyone directly or



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                indirectly employed by them or anyone for whose acts they may be liable,
                regardless of whether or not such claim, damage, loss or expense is caused
                in part by a party indemnified hereunder. Such obligation shall not be construed
                to negate, abridge, or otherwise reduce other rights or obligations of indemnity
                which would otherwise exist as to a party or person described in this Section 4.6.

                4.6.2 In claims against any person or entity indemnified under this Section 4.6 by
                an employee of the Subcontractor, the Subcontractor’s Sub-subcontractors,
                anyone directly or indirectly employed by them or anyone for whose acts they may
                be liable, the indemnification obligation under Section 4.6.1 shall not be limited by
                a limitation on the amount or type of damages, compensation or benefits payable
                by the Subcontractor or the Subcontractor’s Sub-subcontractors under workers’
                compensation acts, disability benefit acts or other employee benefit acts.

          38.   The second indemnification clause, found at Condition 21 of the Subcontract states:

                (A)     Subcontractor agrees to defend, indemnify and hold harmless
                Contractor and Owner, and their agents and employees, from and against
                any claim, cost, expense or liability (including attorneys’ fees), attributable
                to bodily injury, sickness, disease or death, or to damage to or destruction
                of property (including loss of use thereof), caused by, arising out of,
                resulting from or occurring in connection with the performance of the work
                by Subcontractor, its Subcontractors, or their agents or employees, whether
                or not caused in part by the active or passive negligence or other fault of a
                party indemnified hereunder; provided, however, Subcontractor’s duty
                hereunder shall not arise if such injury, sickness, disease, death, damage or
                destruction is caused by the sole negligence of a party indemnified hereunder.
                Subcontractor’s obligation hereunder shall not be limited by the provisions of any
                workmen’s compensation or similar act.

                (B)      Should Owner or any other person assert a claim or institute a suit, action
                or proceeding against Contractor involving the manner or sufficiency of the
                performance of the Subcontractor’s work, Subcontractor shall upon request of
                Contractor promptly assume the defense of such claim, suit, action or proceeding,
                at Subcontractor’s expense, and Subcontractor shall indemnify and hold harmless
                Contractor and its agents and employees, from and against liability, loss,
                damages, or expense (including but not limited to attorneys’ fees) arising out of or
                related to such claim, suit, action or proceeding.

                (C)       In the event of any such loss, expense, damage or injury, or if any claim
                or demand for such damages is made against Contractor, its agents, servants and
                employees, Contractor may withhold from any payment due or hereafter to
                become due to Subcontractor under the terms of this contract, an amount sufficient
                in its judgment to protect and indemnify it form any and all injury, or Contractor in
                its discretion, may require the Subcontractor to furnish a surety bond satisfactory
                to Contractor guaranteeing such protection, which bond shall be furnished by the
                Subcontractor within five days after written demand has been made therefore.




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                  (D)    Subcontractor acknowledges that specific consideration apart from the
                  Subcontract Sum recited herein, has been received by it for this indemnification
                  and any indemnity provision set forth in AIA Form A401.

                  (E)      The indemnity provision set forth herein and any indemnity provision set
                  forth in AIA Form A401 are subject to, and shall not exceed the Subcontract sum
                  plus or minus the amount of all approved change orders thereto.

          39.     The Subcontract also contains an indemnification clause, which “flows through” to

  the Subcontract from the Prime Contract. Specifically, Article 1, § 1.2 of the Subcontract defines

  the Subcontract documents as follows:

                  The Subcontract Documents consist of (1) this Agreement, (2) the Prime Contract,
                  consisting of the Agreement between the Owner and Contractor and the Contract
                  Documents enumerated therein; …" Also, "An enumeration of the Subcontract
                  Documents, other than modifications issued subsequent to the execution of this
                  Agreement, appears in Article 16.

          40.     A more detailed “flow through” clause is found at Article 2 (Mutual Rights and

  Responsibilities) of the Subcontract which make the terms of the Prime Contract binding on the

  Subcontractor as follows:

          The Contractor and Subcontractor shall be mutually bound by the terms of this Agreement
          and, to the extent that the provisions of AIA Document A201-2007 apply to this agreement
          pursuant to Section 1.2 and provisions of the Prime Contract apply to the Work of the
          Subcontractor, the Contractor shall assume toward the Subcontractor all obligations and
          responsibilities that the Owner, under such documents, assumes toward the contractor,
          and the Subcontractor shall assume toward the Contractor all obligations and
          responsibilities which the contractor, under such documents, assumes toward the
          Owner and Architect.

          41.     Pursuant to these clauses, Article 13, Section 13.1 of the Prime Contract is binding

  on MRK. Article 13, Section 13.1 of the Prime Contract states, in pertinent part:

          Contractor shall indemnify, protect, defend and hold harmless Owner and its affiliates and
          its and their respective directors, stockholders, members, managers, officers, employees,
          agents, consultants, representatives, successors, transferees and assigns (collectively, the
          "Owner Indemnified Parties") from and against any and all Damages arising from, relating
          to or associated with any actual or alleged (i) actions or omissions of Contractor or its
          employees, agents, representatives, Subcontractors, or Sub-subcontractors, or any
          employees, agents, representatives or contractors of any of the foregoing, in connection
          with the performance of the Work hereunder, including, without limitation, (A) any lien,
          security interest, claim or encumbrance in favor of any person or entity making a claim by



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          reason of having provided labor, materials or equipment relating to the Work, and (B) any
          injury, damage, harm or loss arising from, relating to or in any manner connected with the
          "release" or "threatened release" of Hazardous Materials, contaminants, oil or radioactive
          materials from any Owner premises as a result of or connected with Contractor's
          performance of the Work, even if not discovered or alleged until after the termination of the
          Contract, and/or (ii) any breach, violation or default by Contractor or its employees, agents,
          representatives, Subcontractors, or Sub-subcontractors, or any employees, agents,
          representatives or contractors of any of the foregoing, of Contractor's obligations under the
          Contract Documents, including, without limitation, any violation of any law, statute,
          ordinance, order, rule of regulation, including, without limitation, any Environmental Law,
          the Stormwater Requirements and those set forth in Article 12. Contractor's obligations to
          indemnify and defend the Owner Indemnified Parties are not entitled to indemnification
          under this Contract. Further, in the event that it is ultimately determined by a final judicial
          decision from which there is no further right to appeal that a portion of the fault is
          attributable to the Owner Indemnified Parties, Contractor's obligations on the indemnity will
          be proportional to the proportional fault of Contractor and the Owner Indemnified Parties.

          42.     Based on the above, there was clear and manifest intent by CASE and MRK that

  the Subcontract primarily and directly benefit WALMART.

          43.     The above defense and indemnity obligations were triggered as the Claimants’

  claims in and out of the Underlying Lawsuit sought to hold WALMART liable for MRK’s

  negligence.

          44.     WALMART repeatedly demanded MRK defend, indemnify, hold harmless, and

  exonerate WALMART for such damages.

          45.     MRK has failed and refused to defend, indemnify, hold harmless, and exonerate

  WALMART per the terms of the Subcontract and Prime Contract.

          46.     AMERISURE has suffered damages by virtue of the fact that WALMART was

  required to retain counsel to defend against the Claimants’ claims in and out of the Underlying

  Lawsuit and to compensate the Claimants for MRK’s negligence.

          47.     Pursuant to the express terms of the Subcontract and the Prime Contract,

  WALMART is entitled to contractual indemnity from MRK for all damages incurred in the

  Underlying Lawsuit.




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          48.     As a direct and proximate result of MRK’s failure to defend, indemnify, hold

  harmless, and exonerate WALMART, AMERISURE has suffered and will continue to suffer

  damages which WALMART is specifically entitled to recover under the Subcontract, including

  but not limited to the $1,119,480.70 that AMERISURE paid as a result of the final judgment, pre

  and post-judgment interest on this amount, attorneys’ fees and costs incurred in the defense of

  WALMART in the Underlying Lawsuit and AMERISURE’S attorneys’ fees and costs in bringing

  this action.

          WHEREFORE, AMERISURE respectfully requests that this Honorable Court enter

  judgment against MRK for contractual indemnity for third-party beneficiary and award

  AMERISURE its damages, pre and post judgment interest, attorneys’ fees and cost incurred in

  WALMART’s defense of the Underlying Lawsuit and attorneys’ fees and costs incurred in

  bringing this action, and such other relief as this Court deems just and appropriate.

                      COUNT IV: COMMON LAW INDEMNIFICATION
                                     (MRK)

          49.     AMERISURE adopts and re-alleges Paragraphs 1 through 21 above as if fully set

  forth herein.

          50.     WALMART engaged the services of CASE, as a general contractor, who engaged

  the services of MRK, as a subcontractor, to pump concreate on the Project.

          51.     Therefore, the relationship between WALMART and MRK is a special

  relationship.

          52.     On or about August 23, 2018, a jury returned a verdict in the Underlying Lawsuit

  finding that there was negligence “on the part of WAL-MART STORES, INC. and/or MRK

  Construction, Inc. which was a legal cause of loss, injury or damage to [the Claimants].”




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          53.     WALMART had engaged in no active wrongdoing and was wholly without fault

  with respect to the Incident. As such, MRK was wholly with fault with respect to the Incident.

          54.     Any liability of WALMART in the Underlying Lawsuit was solely vicarious,

  technical, contractual, or derivative of MRK.

          55.     Accordingly, AMERISURE is entitled to be indemnified by MRK for

  $1,119,480.70 that AMERISURE paid in Judgment, pre and post judgment interest on this amount,

  attorneys’ fees in both the Underlying Lawsuit and this action.

          WHEREFORE, AMERISURE respectfully requests that this Honorable Court enter

  judgment against MRK for common law indemnity, and award AMERISURE its damages, pre

  and post judgment interest, attorneys’ fees and costs incurred in the defense WALMART of the

  Underlying Lawsuit and well as attorneys’ fees and costs incurred in bringing this action, and such

  other relief as this Honorable Court deems just and appropriate.

                COUNT V: BREACH OF CONTRACT / FAILURE TO PROCURE
                                     (MRK)

          56.     AMERISURE adopts and re-alleges Paragraphs 1 through 21 above as if fully set

  forth herein.

          57.     Article 1, § 1.2 of the Subcontract states, in pertinent:

          The Subcontract Documents consist of (1) this Agreement, (2) the Prime Contract,
          consisting of the Agreement between the Owner and Contractor and the Contract
          Documents enumerated therein; …"      Also, "An enumeration of the Subcontract
          Documents, other than modifications issued subsequent to the execution of this
          Agreement, appears in Article 16.

          58.     The “flow through” provision found at Article 2 (Mutual Rights and

  Responsibilities) of the Subcontract states, in pertinent part:

          The Contractor and Subcontractor shall be mutually bound by the terms of this Agreement
          and, to the extent that the provisions of AIA Document A201-2007 apply to this agreement
          pursuant to Section 1.2 and provisions of the Prime Contract apply to the Work of the
          Subcontractor, the Contractor shall assume toward the Subcontractor all obligations and


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          responsibilities that the Owner, under such documents, assumes toward the contractor,
          and the Subcontractor shall assume toward the Contractor all obligations and
          responsibilities which the contractor, under such documents, assumes toward the
          Owner and Architect.

          59.     Section 20.2 Insurance Policy Limits and Coverages of the Prime Contract that are

  binding on MRK state, in pertinent part:

          20.2.1 Contractor shall carry the insurance coverage as specified below with the minimum
          limits set forth herein . . . .
          …

          20.2.2.2 Insurance coverage required to be carried by Contractor pursuant to Section 20.1
          and as specified below shall be written for not less than the following limits, or greater if
          required by law:
          …

          (iii)    Commercial General Liability insurance, including liability for the Project and
          blanket coverage, Personal and Advertising Injury, Products-Completed Operations (which
          shall remain in effect for two (2) years after final acceptance of the Work by Owner),
          Medical Payments, Bodily Injury, and Property Damage, with minimum limits of $2,000,000
          per occurrence, $3,000,000 general aggregate and completed operations aggregate,
          $500,000 personal and advertising injury per occurrence, and $5,000 medical expense.
          Contractor and, as applicable, Subcontractors and Sub-subcontractors shall obtain an
          endorsement to each insurance policy to provide fresh per occurrence and aggregate limits
          for each location and provide express coverage for punitive damages where permitted by
          law. Contractor and, as applicable Subcontractors and Sub-subcontractors shall cause
          each insurance company issuing completed operations coverage as required herein to
          include Owner and its subsidiaries, affiliates, officers, directors, employees and agents as
          “additional insureds” with respect to such completed operations coverage. Such
          Commercial General Liability insurance shall also contain contractual liability coverage with
          the same limits and aggregates specified above, insuring all liability assumed by Contractor
          pursuant to this Contract. This insurance shall not be self-funded, collateralized or based
          on any type of fronting arrangement, or issued through a captive insurance company.
          …

          20.2.2.3 Contractor shall provide to owner before commencement of the Work (and within
          twenty-four (24) hours of award of the Contract), and at least 30 days prior to the expiration
          of a policy or policies of insurance in effect during the term of this Contract, a certificate or
          certificates of insurance evidencing all required insurance in the Contract Documents which
          are acceptable to Owner. Contractor shall retain copies of all certificates of insurance
          provided by Subcontractors and Sub-subcontractors and, if requested by Owner, shall
          promptly provide such certificates of insurance to Owner. All certificates, among other
          things, shall:

          (i)   Show Wal-Mart Stores, Inc. its subsidiaries and affiliates as a certificate holder and
          Wal-Mart’s address as 2001 S.E. 10th Street, Bentonville, Arkansas 72716




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          (ii)    Show Contractor, Subcontractors or Sub-subcontractors as the named insured.

          (iii)  Show the names of the insurance companies providing each coverage, their
          addresses, the policy numbers of each coverage, and policy dates of each coverage.
          …

          (vi)      Show that each insurance company named Wal-Mart and its subsidiaries,
          affiliates, officers, directors, employees, and agents as additional insureds in each
          insurance policy.

          60.     Article 13 of the Subcontract regarding Insurance and Bonds states, in pertinent

  part:

          §13.1 The Subcontractor shall purchase and maintain insurance of the following types of
          coverage and limits of liability as will protect the Subcontractor from claims that may arise
          out of, or result from, the Subcontractor’s operations and completed operations under the
          Subcontract.

          Type of Insurance or Bond                 Limit of Liability or bond amount
          Workers Compensation                      1,000,000.00
          Comprehensive General Liability           2,000,000.00
          Comprehensive Auto Liability              2,000,000.00

          §13.1.1 A Certificate of Insurance, which MUST list CASE CONTRACTING COMPANY
          and WAL-MART STORES, INC., as additional insureds as their interests may appear, shall
          be additional insureds with cross liability endorsement with respect to commercial, general
          and automobile liability policies, and PROOF of Workman’s Compensation Insurance IN
          YOUR COMPANY’S NAME must be provided within 7 days of contract date.
          …

          §13.4 The Subcontractor shall cause the commercial liability coverage required by the
          Subcontract Documents to include: (1) the Contractor, the Owner, the Architect and
          Architect’s consultants as additional insureds for claims caused in whole or in part by the
          Subcontractor’s negligent acts or omissions during the Subcontractor’s operations; and (2)
          the Contractor as an additional insured for claims caused in whole or in part by the
          Subcontractor’s negligent acts or omissions during the Subcontractor’s completed
          operations.

          61.     There was clear and manifest intent by CASE and MRK that the Subcontract

  primarily and directly benefit WALMART as the owner.

          62.     MRK breached the Subcontract as it failed to procure a Commercial General

  Liability policy with $2,000,000 limit of liability and listing WALMART as an additional insured.




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          63.    As a direct and proximate result of such breach, AMERISURE has suffered and

  will continue to suffer damages which it is specifically entitled to recover under the Subcontract,

  including but not limited to the $1,119,480.70 AMERISURE paid in Judgment, pre and post

  judgment interest on these amounts, attorneys’ fees and costs incurred in the Underlying Lawsuit

  and attorney’s fees and costs in bringing this action.

          WHEREFORE, AMERISURE respectfully requests that this Honorable Court enter

  judgment against MRK for breach of third-party beneficiary contract, and award AMERISURE its

  damages, pre and post judgment interest, attorneys’ fees and costs incurred in the Underlying

  Lawsuit and its attorneys’ fees and costs in bringing this action, and such other relief as this

  Honorable Court deem just and proper.


  Dated: January 31, 2020
         West Palm Beach, Florida

                                                Respectfully submitted,

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